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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

William Deiker
                             Plaintiff,
v.                                                 Case No.: 1:20−cv−00669
                                                   Honorable Edmond E. Chang
Trueaccord Corp.
                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 22, 2021:


        MINUTE entry before the Honorable Edmond E. Chang: On review of the position
papers, R. 51, 52, the case is dismissed without prejudice for lack of subject matter
jurisdiction. A separate AO−450 judgment will be entered. The tracking status hearing of
10/29/2021 is vacated. Civil case terminated. Emailed notice (mw, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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